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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


    IN RE: LIPITOR ANTITRUST
    LITIGATION                                         MDL NO. 2332

                                                       Master Docket No.:
                                                       3:12-cv-2389(PGS/DEA)

                                                       NOTICE OF MOTION AND
                                                       MOTION TO REMAND
    This Document Relates To:
                                                       Honorable Peter G. Sheridan
    RP Healthcare, Inc., et al. v. Pfizer, Inc.,
    et al., No. 3:12-cv-1059-JSW                       (Document Filed Electronically)




           PLEASE TAKE NOTICE that on September 17, 2012, at the Clarkson S. Fisher

    Building and U.S. Courthouse, 402 East State Street, Trenton, New Jersey 08608, the

    undersigned attorneys for RP Healthcare, et al. will move before the U.S. District Court

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    for the District of New Jersey, Hon. Peter G. Sheridan, U.S.D.J., for an Order Granting

    Plaintiffs’ Motion for Remand.

           In support of this Motion, Plaintiffs will reply upon the Declaration of James M.

    Dombroski and the brief which are filed in support hereof.



    DATED: August 13, 2012

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